    Case: 1:18-cv-07763 Document #: 29 Filed: 01/29/19 Page 1 of 1 PageID #:273




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BRIAN WHITTMAN,                                 )
                                                )
               Plaintiff,                       )
                                                )           No. 18-cv-07763
         v.                                     )
                                                )           Judge Andrea R. Wood
THE PARTNERSHIPS AND                            )
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE "A",                     )
                                                )
               Defendants.                      )

                                             ORDER

        Motion and Status hearing held. Only counsel for Plaintiff appeared. Plaintiff’s motion for
preliminary injunction [23] is granted. Enter Preliminary Injunction Order. The Clerk of the Court
is hereby directed to unseal Schedule A regarding Complaint [10], Exhibit 2 to the Declaration of
David Gulbransen [14], and the Temporary Restraining Order [19]. Status hearing set for 4/3/2019
at 9:00 AM.

(0:08)



Dated: January 29, 2019                             __________________________
                                                    Andrea R. Wood
                                                    United States District Judge
